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                         EXHIBIT 2
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                                                 June 20, 2023


Cory A. Baskin                                                                               Via Email only
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                       Re:         10PM Curfew, LLC v. Mayur Deepak Patil; Furor Media, LLC;
                                   Crunch Media, LLC; Travly, Inc.
                                   Our Client:         10PM Curfew, LLC.
                                   Our File Number:    7400.001
                                   California Case No: 2:23-cv-02805-MEMF-MRW
                                   Your Clients:       Mayur Patil, FurorMedia, LLC,
                                                       Crunch Media, LLC & Travly, Inc.

  Dear Mr. Baskin:

          We are in receipt of your June 14, 2023 meet and confer correspondence (“Defendants’
  Correspondence”) regarding Plaintiff’s complaint. We are available to meet and confer
  telephonically on the following days: June 27, 2023, and June 28, 2023. To provide you with 10PM
  Curfew’s (“Curfew” or “Plaintiff”) position and in an effort to have a substantive meet and confer,
  we have outlined Plaintiff’s position regarding Defendants’ intent to file 1) Motion to Dismiss
  pursuant to Federal Rules of Civil Procedure 12(b)(6); or in the alternative to 2) Stay the action;
  or in the alternative to 3) Transfer the action to Northern District of Indiana.


  Request to Stay or Transfer of the California Action

          Your letter asks that Plaintiff consider either transferring the California case to Indiana or
  staying the California case until there is a determination in the Indiana case. While we appreciate
  and even share the concern that there are now two cases when perhaps one would do, the facts
  establish rather straightforwardly that the case that should remain is the California case. We have
  previously asked that your client dismiss the Indiana case and have, as you know, moved to dismiss
  that case based on serious and valid concerns that there is no jurisdiction over the defendants
  therein. Furthermore, and important to the discussion here, is the fact that the Indiana case is
  nothing more than a shadow of the California case filed purely as a legal maneuver to attempt to

                                         TRANSACTIONS AND LITIGATION
        | BUSINESS | CORPORATE | INTERNET & TECHNOLOGY | INTELLECTUAL PROPERTY | DATA BREACH | PRIVACY |
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gain some advantage by moving the case from the Plaintiff’s home state filed solely in anticipation
of the California case - after defendants were put on notice of the California case by our records
preservation letter outlining our claims against them, in their various particulars. Indiana counsel
and the undersigned even had a lengthy conversation where we outlined the minutia of the claims
that were being asserted, as a courtesy, in the hope that the obvious nature of the wrongdoing
would result in settlement discussions. At no time did Indiana counsel mention or even hint that
he intended to file any claim in Indiana or that California was in any way not the proper
jurisdiction. Indeed, without notice and within days of that “Courtesy Call” Indiana counsel filed
the Indiana declaratory relief mirror of the California action. The Indiana case will be seen for
what it is, nothing more than an improper procedural maneuver, filed in anticipation of the
California case which is ripe for dismissal so that the proper California case may proceed.

        Nonetheless, we have carefully reviewed your letter, looking for any legitimate basis to
consider either a stay or transfer of the California case. However, after doing so, we believe with
even more certainty that the only correct outcome here is that the California Case should proceed
forward and the Indiana case should be dismissed. Indeed, the cases cited in Defendants’
Correspondence, along with the arguments made in support of the request to stay or transfer the
California pending action fail entirely to consider the issue at hand which is, of course, the
Anticipatory Suit Exception to the First to File Rule. Plaintiff sent a total of three demands to
Defendant Mayur Deepak Patil and FurorMedia, LLC outlining the wrongful actions that
Defendant Mayur Deepak Patil and FurorMedia, LLC have taken against Plaintiff, even inquiring
specifically as to acceptance of service of the complaint. It was only after defendants receipt of all
this correspondence from Plaintiff, that Defendant Mayur Deepak Patil and FurorMedia, LLC filed
the action in the Northern District of Indiana seeking declaratory judgment against Curfew
essentially for the same causes of action stated in Plaintiff’s correspondence; therefore, the Indiana
action is obviously nothing more than an Anticipatory Suit and as such must be dismissed in favor
of the California case. Ontel Products, Inc. v. Project Strategies Corp, 899 F. Supp. 1144, 1150
(S.D.N.Y. 1995); Inherent.com v. Martindale-Hubbell, 420 F. Supp. 2d 1093, 1097 (N.D. Cal.
2006). Furthermore, while all the parties of the Indiana case are now present in the California case,
the same cannot be said for the parties in the California case. The California case is against
defendants not named or mentioned in the Indiana case at all such that the claims against these
additional parties can only be addressed by allowing the California case to proceed. There certainly
is no basis whatsoever to stay or dismiss those claims, nor has any been suggested in your request.
Defendants Crunch Media, LLC and Travly, Inc are not parties to the Indiana action and are not
included in any of the causes of action of the Indiana case, a court will likely find that staying the
action is inappropriate where two defendants are not party to the other action. Kohn L. Grp., Inc.
v. Auto Parts Mfg. Mississippi, Inc., 787 F.3d 1237, 1240 (9th Cir. 2015)

        As you are aware, Curfew has already filed a motion to dismiss in the Indiana action for
the court’s lack of jurisdiction, among other things, and a motion to stay discovery pending the
Indiana court ruling on Curfew’s motion to dismiss. Before filing the motions, Plaintiff herein
appropriately asked that Defendants stay discovery in the Indiana case pending a ruling on the
motion to dismiss the case but Defendants have thus far refused. In the meantime, there has been
no appropriate basis asserted to support the request for staying or transferring the pending
California action. Given the case law cited above, the filing of the anticipatory Indiana claim is
certainly no basis whatsoever.
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Motion to Dismiss Pursuant to FRCP 12(b)(6)

       Anticipating that we would be unable to accommodate your request to stay or transfer the
California case in favor of the Anticipatory Claim, you have also asked that we amend or dismiss
the California claim. Again, we have taken your request seriously and have reviewed your cited
law and considered your arguments in support.

Specificity.

        As we understand it, Defendants assert that the claims asserted lack sufficient specificity
that would be required under the California Uniform Trade Secrets Act (“CUTSA”); however, for
the reasons set forth below, this is simply not the case. Plaintiff’s allegations as to the Trade Secret
claim are stated with exacting particularity (i.e. the relationships between Plaintiff and high level
individuals at Snapchat and Instagram) and as such, the complaint need not be amended to further
meet the specificity requirements of a claim under CUTSA. Plaintiff’s Complaint also alleges with
sufficient specificity that Defendants misappropriated Plaintiff’s trade secrets and mis-used those
trade secrets without Plaintiff’s consent. These allegations all made in the Complaint with more
than sufficient particularity given the issue at hand. See. e.g. Plaintiff’s Complaint Paragraphs 20
– 27 including, Paragraph 20 for the specific definition of Trade Secret in the Compliant.

        Caselaw supports this conclusion. To satisfy CUTSA pleading, Plaintiff must satisfy Bell
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007), and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
Under Twombly and Iqbal, a party is not required to define the trade secrets at issue with
particularity at the pleading stage. Certainly, in Oakwood Laboratories the court commented that
“care must be taken to not allow a plaintiff in a trade secret misappropriation case to make
generalized claims that leave a defendant wondering what the secrets at issue might be,“ but the
court also recognized that a “demand for further precision in the pleading is . . . misplaced and
ignores the challenges a trade secret plaintiff commonly faces when only discovery will reveal
exactly what the defendants are up to.” Oakwood Laboratories, LLC v. Thanoo, et al., 993 F.3d
892 (3d Cir. 2021). Here, the allegations are more than sufficiently specific to satisfy the basic
requirements.

Preemption.

        Defendants’ Correspondence further states that Plaintiff’s causes of action are preempted
under CUTSA. Defendants’ argument neglects the fact that Plaintiff’s allegations in the other 8
causes of action do not share the same nucleus of facts as the CUTSA claims. These causes of
action are also not dependent on the misappropriation of the trade secret and the Complaint pleads
sufficient facts to stand alone on those claims. In Silvaco Data Systems, the court stated that the
savings clause does not affect “contractual remedies” and civil remedies “that are not based upon
misappropriation of a trade secret.” Silvaco Data Systems v. Intel Corp., 184 Cal. App. 4th 210,
233 (2010). “The preemption inquiry for those causes of action not specifically exempted by §
3426.7(b) focuses on whether other claims are not more than a restatement of the same operative
facts supporting trade secret misappropriation.... If there is no material distinction between the
wrongdoing alleged in a [C]UTSA claim and that alleged in a different claim, the [C]UTSA claim
preempts the other claim.” Convolve, Inc. v. Compaq Comp. Corp., 2006 WL 839022, at *6
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(S.D.N.Y.Mar.31, 2006) (internal quotations omitted) (applying California law) in Top Agent
Network, Inc. v. Zillow, Inc., WL 7709655, at *6 (N.D. Cal. Apr. 13, 2015).

         For example, Plaintiff’s 7th and 8th causes of action for Fraud by Concealment and
Fraudulent Misrepresentation are not based on Defendants’ misappropriation of trade secrets,
rather, they are based on Patil’s failure to disclose material information, and making false material
representations to Plaintiff while serving as a Director of Growth of Curfew. In fact, they have
nothing whatsoever to do with the stolen trade secrets. Plaintiff’s six other claims are based on
Defendants’ wrongful conduct such as, inter alia, Patil’s violations of his fiduciary and other duties
to Curfew.

        For the reasons discussed above, we do not see that your letter establishes any reason that
Plaintiff should amend its Complaint. Nonetheless, if you continue to believe that there is any
further or other concern that you have which might support this request, please provide it at your
first convenience and we would be pleased to consider it. In the meantime, however, we believe
that the claims are all sufficiently clear as they stand.

        In conclusion, and after a thorough evaluation of Defendants’ arguments and cited case
law in support of their arguments, Plaintiff is not inclined to amend the Complaint, nor to either
stay or transfer the pending California action because Plaintiff’s Complaint is alleged with
sufficient particularity, causes of action are not preempted by CUTSA and Central District of
California is appropriate for the action. The Indiana case should be dismissed, lacking jurisdiction
over the Defendants therein, and it is the California case that should proceed. In fact, we would
ask that your clients seriously consider the dismissal of the Anticipatory Claim so that the issues
between them can be resolved with one claim, in California.

        Finally, if your client is truly concerned about multiple claims proceeding, perhaps either
dismiss the Anticipatory Claim or take steps toward furthering the discussions we instigated at the
outset of this case toward any possible early resolution of the matter. Otherwise, it is our intention
to proceed with the California claim.

        Should you wish to discuss further as to your effort to meet and confer so as to avoid
unnecessary law and motion in this case, please advise of your availability. In the meantime, should
you have any questions or concerns regarding the foregoing, please do not hesitate to contact our
office.


                                                Very truly yours,

                                      COHEN BUSINESS LAW GROUP
                                        A Professional Corporation


                                              JEFFREY A. COHEN
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